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12
13
                              UNITED STATES DISTRICT COURT
14
                            CENTRAL DISTRICT OF CALIFORNIA
15
16     ENTTECH MEDIA GROUP LLC                Case No. 2:20-cv-06298-JWH (Ex)
                                              Hon. Charles F. Eick
17                   Plaintiff,
18              v.                            [PROPOSED] PROTECTIVE
19     OKULARITY, INC., et al.                ORDER
20                   Defendants.
21
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                                       PROTECTIVE ORDER
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 1 I.     PURPOSES AND LIMITATIONS
          A.  Because discovery in this action is likely to involve production of
 2
          confidential, proprietary, or private information for which special protection from
 3
 4        public disclosure and from use for any purpose other than prosecuting this

 5        litigation may be warranted, this Court enters the following Protective Order. The

 6        parties acknowledge that this Order does not confer blanket protections on all

 7        disclosures or responses to discovery and that the protection it affords from public

 8        disclosure and use extends only to the limited information or items that are entitled

 9        to confidential treatment under the applicable legal principles. The parties further

10        acknowledge, as set forth in Section XIII(C) below, that this Protective Order does

11        not entitle them to file confidential information under seal; Civil Local Rule 79-5

12        sets forth the procedures that must be followed and the standards that will be

13        applied when a party seeks permission from the Court to file material under seal.

14 II.    GOOD CAUSE STATEMENT

15        A.    This action is likely to involve the production of confidential records, and in

16        order to expedite the flow of information, to facilitate the prompt resolution of

17        disputes over confidentiality of discovery materials, to adequately protect

18        information the parties are entitled to keep confidential, to ensure that the parties

19        are permitted reasonable and necessary uses of such material in connection with

20        this action, to address their handling of such material at the end of the litigation,

21        and to serve the ends of justice, a protective order for such information is justified

22        in this matter. The parties shall not designate any information/documents as

23        confidential without a good faith belief that such information/documents have been

24        maintained in a confidential, non-public manner, and that there is good cause or a
25        compelling reason why it should not be part of the public record of this case.
26 III.   DEFINITIONS
27        A.    Action: This pending federal lawsuit.
28                                             2
                                       PROTECTIVE ORDER
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 1       B.    Challenging Party: A Party or Non-Party that challenges the designation of
 2       information or items under this Order.
 3       C.    “CONFIDENTIAL” Information or Items: Information (regardless of how
 4       it is generated, stored or maintained) or tangible things that qualify for protection
 5       under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
 6       Cause Statement.
 7       D.    Counsel: Outside Counsel of Record and House Counsel (as well as their
 8       support staff).
 9       E.    Designating Party: A Party or Non-Party that designates information or
10       items that it produces in disclosures or in responses to discovery as
11       “CONFIDENTIAL.”
12       F.    Disclosure or Discovery Material: All items or information, regardless of
13       the medium or manner in which it is generated, stored, or maintained (including,
14       among other things, testimony, transcripts, and tangible things), that are produced
15       or generated in disclosures or responses to discovery in this matter.
16       G.    Expert: A person with specialized knowledge or experience in a matter
17       pertinent to the litigation who has been retained by a Party or its Counsel to serve
18       as an expert witness or as a consultant in this Action.
19       H.    House Counsel: Attorneys who are employees of a Party to this Action.
20       House Counsel does not include Outside Counsel of Record or any other outside
21       counsel.
22       I.    Non-Party: Any natural person, partnership, corporation, association, or
23       other legal entity not named as a Party to this action.
24       J.    Outside Counsel of Record: Attorneys who are not employees of a party to
25       this Action but are retained to represent or advise a party to this Action and have
26       appeared in this Action on behalf of that party or are affiliated with a law firm
27       which has appeared on behalf of that party, and includes support staff.
28                                            3
                                      PROTECTIVE ORDER
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 1       K.    Party: Any party to this Action, including all of its officers, directors,
 2       employees, consultants, retained experts, and Outside Counsel of Record (and their
 3       support staffs).
 4       L.    Producing Party: A Party or Non-Party that produces Disclosure or
 5       Discovery Material in this Action.
 6       M.    Professional Vendors: Persons or entities that provide litigation support
 7       services (e.g., photocopying, videotaping, translating, preparing exhibits or
 8       demonstrations, and organizing, storing, or retrieving data in any form or medium)
 9       and their employees and subcontractors.
10       N.    Protected Material: Any Disclosure or Discovery Material that is designated
11       as “CONFIDENTIAL.”
12       O.    Receiving Party: A Party that receives Disclosure or Discovery Material
13       from a Producing Party.
14 IV.   SCOPE
15       A.    The protections conferred by this Stipulation and Order cover not only
16       Protected Material (as defined above), but also (1) any information copied or
17       extracted from Protected Material; (2) all copies, excerpts, summaries, or
18       compilations of Protected Material; and (3) any testimony, conversations, or
19       presentations by Parties or their Counsel that might reveal Protected Material.
20       B.    Any use of Protected Material at trial shall be governed by the orders of
21       the trial judge. This Order does not govern the use of Protected Material at trial.
22 V.    DURATION
23       Even after final disposition of this litigation, the confidentiality obligations
24       imposed by this Order shall remain in effect until a Designating Party agrees
25       otherwise in writing or a court order otherwise directs. Final disposition shall be
26       deemed to be the later of (1) dismissal of all claims and defenses in this Action,
27       with or without prejudice; and (2) final judgment herein after the completion and
28                                            4
                                      PROTECTIVE ORDER
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 1       exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
 2       including the time limits for filing any motions or applications for extension of
 3       time pursuant to applicable law.
 4 VI.   DESIGNATING PROTECTED MATERIAL
 5       A.    Exercise of Restraint and Care in Designating Material for Protection
 6             1.     Each Party or Non-Party that designates information or items for
 7             protection under this Order must take care to limit any such designation to
 8             specific material that qualifies under the appropriate standards. The
 9             Designating Party must designate for protection only those parts of material,
10             documents, items, or oral or written communications that qualify so that
11             other portions of the material, documents, items, or communications for
12             which protection is not warranted are not swept unjustifiably within the
13             ambit of this Order.
14             2.     Mass, indiscriminate, or routinized designations are prohibited.
15             Designations that are shown to be clearly unjustified or that have been made
16             for an improper purpose (e.g., to unnecessarily encumber the case
17             development process or to impose unnecessary expenses and burdens on
18             other parties) may expose the Designating Party to sanctions.
19             3.     If it comes to a Designating Party’s attention that information or items
20             that it designated for protection do not qualify for protection, that
21             Designating Party must promptly notify all other Parties that it is
22             withdrawing the inapplicable designation.
23       B.    Manner and Timing of Designations
24             1.     Except as otherwise provided in this Order (see, e.g.,
25             Section IV(B)(2)(b) and Section IV(C) below), or as otherwise stipulated or
26             ordered, Disclosure or Discovery Material that qualifies for protection under
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                                      PROTECTIVE ORDER
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 1            this Order must be clearly so designated before the material is disclosed or
 2            produced.
 3            2.    Designation in conformity with this Order requires the following:
 4                  a.     For information in documentary form (e.g., paper or electronic
 5                  documents, but excluding transcripts of depositions or other pretrial or
 6                  trial proceedings), that the Producing Party affix at a minimum, the
 7                  legend “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”),
 8                  to each page that contains protected material. If only a portion or
 9                  portions of the material on a page qualifies for protection, the
10                  Producing Party also must clearly identify the protected portion(s)
11                  (e.g., by making appropriate markings in the margins).
12                  b.     A Party or Non-Party that makes original documents available
13                  for inspection need not designate them for protection until after the
14                  inspecting Party has indicated which documents it would like copied
15                  and produced. During the inspection and before the designation, all
16                  of the material made available for inspection shall be deemed
17                  “CONFIDENTIAL.” After the inspecting Party has identified the
18                  documents it wants copied and produced, the Producing Party must
19                  determine which documents, or portions thereof, qualify for
20                  protection under this Order. Then, before producing the specified
21                  documents, the Producing Party must affix the “CONFIDENTIAL
22                  legend” to each page that contains Protected Material. If only a
23                  portion or portions of the material on a page qualifies for protection,
24                  the Producing Party also must clearly identify the protected portion(s)
25                  (e.g., by making appropriate markings in the margins).
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                                    PROTECTIVE ORDER
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 1                   c.     For testimony given in depositions, that the Designating Party
 2                   identify the Disclosure or Discovery Material on the record, before
 3                   the close of the deposition all protected testimony.
 4                   d.     For information produced in form other than document and for
 5                   any other tangible items, that the Producing Party affix in a prominent
 6                   place on the exterior of the container or containers in which the
 7                   information is stored the legend “CONFIDENTIAL.” If only a
 8                   portion or portions of the information warrants protection, the
 9                   Producing Party, to the extent practicable, shall identify the protected
10                   portion(s).
11       C.    Inadvertent Failure to Designate
12             1.    If promptly corrected by notice to a Receiving Party, an inadvertent
13             failure to designate qualified information or items does not, standing alone,
14             waive the Designating Party’s right to secure protection under this Order for
15             such material.
16             2.    Upon prompt correction of a designation, the Receiving Party must
17             make reasonable efforts to assure that the material is treated in accordance
18             with the provisions of this Order.
19 VII. CHALLENGING CONFIDENTIALITY DESIGNATIONS
20       A.    Timing of Challenges
21             Any Party or Non-Party may challenge a designation of confidentiality at
22             any time that is consistent with the Court’s Scheduling Order.
23       B.    Meet and Confer
24             The Challenging Party shall initiate the dispute resolution process under
25             Local Rule 37.1 et seq.
26       C.    The burden of persuasion in any such challenge proceeding shall be on the
27       Designating Party. Frivolous challenges, and those made for an improper purpose
28                                           7
                                     PROTECTIVE ORDER
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 1       (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
 2       expose the Challenging Party to sanctions. Unless the Designating Party has
 3       waived or withdrawn the confidentiality designation, all parties shall continue to
 4       afford the material in question the level of protection to which it is entitled under
 5       the Producing Party’s designation until the Court rules on the challenge.
 6 VIII. ACCESS TO AND USE OF PROTECTED MATERIAL
 7       A.    Basic Principles
 8             1.     A Receiving Party may use Protected Material that is disclosed or
 9             produced by another Party or by a Non-Party in connection with this Action
10             only for prosecuting, defending, or attempting to settle this Action. Such
11             Protected Material may be disclosed only to the categories of persons and
12             under the conditions described in this Order. When the Action has been
13             terminated, a Receiving Party must comply with the provisions of Section
14             XIV below.
15             2.     Protected Material must be stored and maintained by a Receiving
16             Party at a location and in a secure manner that ensures that access is limited
17             to the persons authorized under this Order.
18       B.    Disclosure of “CONFIDENTIAL” Information or Items
19             1.     Unless otherwise ordered by the Court or permitted in writing by the
20             Designating Party, a Receiving Party may disclose any information or item
21             designated “CONFIDENTIAL” only to:
22                    a.     The Receiving Party’s Outside Counsel of Record in this
23                    Action, as well as employees of said Outside Counsel of Record to
24                    whom it is reasonably necessary to disclose the information for this
25                    Action;
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                                      PROTECTIVE ORDER
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 1                  b.    The officers, directors, and employees (including House
 2                  Counsel) of the Receiving Party to whom disclosure is reasonably
 3                  necessary for this Action;
 4                  c.    Experts (as defined in this Order) of the Receiving Party to
 5                  whom disclosure is reasonably necessary for this Action and who
 6                  have signed the “Acknowledgment and Agreement to Be Bound”
 7                  (Exhibit A);
 8                  d.    The Court and its personnel;
 9                  e.    Court reporters and their staff;
10                  f.    Professional jury or trial consultants, mock jurors, and
11                  Professional Vendors to whom disclosure is reasonably necessary for
12                  this Action and who, to the extent practicable, have signed the
13                  “Acknowledgment and Agreement to be Bound” attached as
14                  Exhibit A hereto;
15                  g.    The author or recipient of a document containing the
16                  information or a custodian or other person who otherwise possessed
17                  or knew the information;
18                  h.    During their depositions, witnesses in the Action and their
19                  Counsel to whom disclosure is reasonably necessary provided that:
20                  (i) the deposing Party requests that the witness sign the
21                  “Acknowledgment and Agreement to Be Bound” or otherwise obtains
22                  from the witness and their Counsel an on-the-record commitment to
23                  be bound, and (ii) the witness and their Counsel are not permitted to
24                  keep any confidential information unless otherwise agreed by the
25                  Designating Party or ordered by the Court. Pages of transcribed
26                  deposition testimony or exhibits to depositions that reveal Protected
27                  Material may be separately bound by the court reporter and may not
28                                         9
                                   PROTECTIVE ORDER
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 1                    be disclosed to anyone except as permitted under this Protective
 2                    Order; and
 3                    i.    Any mediator or settlement officer, and their supporting
 4                    personnel, mutually agreed upon by the Parties engaged in settlement
 5                    discussions.
 6 IX.   PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
 7       IN OTHER LITIGATION
 8       A.    If a Party is served with a subpoena or a court order issued in other litigation
 9       that compels disclosure of any information or items designated in this Action as
10       “CONFIDENTIAL,” that Party must:
11             1.     Promptly notify in writing the Designating Party. Such notification
12             shall include a copy of the subpoena or court order;
13             2.     Promptly notify in writing the party who caused the subpoena or order
14             to issue in the other litigation that some or all of the material covered by the
15             subpoena or order is subject to this Protective Order. Such notification shall
16             include a copy of this Protective Order; and
17             3.     Cooperate with respect to all reasonable procedures sought to be
18             pursued by the Designating Party whose Protected Material may be affected.
19       B.    If the Designating Party timely seeks a protective order in the other
20       litigation, the Party served with the subpoena or court order shall not produce any
21       information designated in this action as “CONFIDENTIAL” before a
22       determination by the Court from which the subpoena or order issued, unless the
23       Party has obtained the Designating Party’s permission. The Designating Party
24       shall bear the burden and expense of seeking protection in that Court and nothing
25       in these provisions should be construed as authorizing or encouraging a Receiving
26       Party in this Action to disobey a lawful directive from another Court.
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                                     PROTECTIVE ORDER
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 1 X.   A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
 2      PRODUCED IN THIS LITIGATION
 3      A.    The terms of this Order are applicable to information produced by a Non-
 4      Party in this Action and designated as “CONFIDENTIAL.” Such information
 5      produced by Non-Parties in this Action is protected by the remedies and relief
 6      provided by this Order. Nothing in these provisions should be construed as
 7      prohibiting a Non-Party from seeking additional protections.
 8      B.    In the event that a Party is required, by a valid discovery request, to produce
 9      a Non-Party’s confidential information in its possession, and the Party is subject to
10      an agreement with the Non-Party not to produce the Non-Party’s confidential
11      information, then the Party shall:
12            1.     Promptly notify in writing the Requesting Party and the Non-Party
13            that some or all of the information requested is subject to a confidentiality
14            agreement with a Non-Party;
15            2.     Promptly provide the Non-Party with a copy of the Protective Order
16            in this Action, the relevant discovery request(s), and a reasonably specific
17            description of the information requested; and
18            3.     Make the information requested available for inspection by the Non-
19            Party, if requested.
20      C.    If the Non-Party fails to seek a protective order from this court within 14
21      days of receiving the notice and accompanying information, the Receiving Party
22      may produce the Non-Party’s confidential information responsive to the discovery
23      request. If the Non-Party timely seeks a protective order, the Receiving Party shall
24      not produce any information in its possession or control that is subject to the
25      confidentiality agreement with the Non-Party before a determination by the court.
26      Absent a court order to the contrary, the Non-Party shall bear the burden and
27      expense of seeking protection in this court of its Protected Material.
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                                     PROTECTIVE ORDER
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 1 XI.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 2       If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 3       Protected Material to any person or in any circumstance not authorized under this
 4       Protective Order, the Receiving Party must immediately (1) notify in writing the
 5       Designating Party of the unauthorized disclosures, (2) use its best efforts to
 6       retrieve all unauthorized copies of the Protected Material, (3) inform the person or
 7       persons to whom unauthorized disclosures were made of all the terms of this
 8       Order, and (4) request such person or persons to execute the “Acknowledgment
 9       and Agreement to be Bound” that is attached as Exhibit A.
10 XII. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
11       PROTECTED MATERIAL
12       A.    When a Producing Party gives notice to Receiving Parties that certain
13       inadvertently produced material is subject to a claim of privilege or other
14       protection, the obligations of the Receiving Parties are those set forth in Federal
15       Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
16       whatever procedure may be established in an e-discovery order that provides for
17       production without prior privilege review.
18       B.    In accordance with Federal Rule of Evidence 502(d) and (e), the Parties
19       agree to and the Court orders protection of privileged and otherwise protected
20       documents against claims of waiver (including as against third parties and in other
21       proceedings) as follows:
22             1.     The production of documents by a Producing Party subject to a
23             legally recognized claim of privilege, including without limitation attorney-
24             client privilege and the work-product doctrine, to a Receiving Party, does
25             not constitute the voluntary disclosure of such document.
26             2.     The inadvertent production of any documents in this action does not
27             result in the waiver of any privilege, evidentiary protection, or other
28                                           12
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 1            protection associated with such document as to the Receiving Party or any
 2            third Parties and does not result in any waiver, including subject-matter
 3            waiver, of any kind.
 4      Accordingly, by operation of the Parties’ agreement and Court order, the Parties
 5      are afforded the protections of Federal Rule of Evidence 502(d) and (e).
 6 XIII. MISCELLANEOUS
 7      A.    Right to Further Relief
 8            Nothing in this Order abridges the right of any person to seek its
 9            modification by the Court in the future.
10      B.    Right to Assert Other Objections
11            By stipulating to the entry of this Protective Order, no Party waives any
12            right it otherwise would have to object to disclosing or producing any
13            information or item on any ground not addressed in this Protective Order.
14            Similarly, no Party waives any right to object on any ground to use in
15            evidence of any of the material covered by this Protective Order.
16      C.    Filing Protected Material
17            A Party that seeks to file under seal any Protected Material must comply
18            with Civil Local Rule 79-5. Protected Material may be filed under only seal
19            pursuant to a court order authorizing the sealing of the specific Protected
20            Material at issue. If a Party’s request to file Protected Material under seal is
21            denied by the Court, then the Receiving Party may file the information in the
22            public record unless otherwise instructed by the Court.
23 XIV. FINAL DISPOSITION
24      A.    After the final disposition of this Action, as defined in Section V, within
25      sixty (60) days of a written request by the Designating Party, each Receiving Party
26      must return all Protected Material to the Producing Party or destroy such material.
27      As used in this subdivision, “all Protected Material” includes all copies, abstracts,
28                                          13
                                     PROTECTIVE ORDER
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 1        compilations, summaries, and any other format reproducing or capturing any of the
 2        Protected Material. Whether the Protected Material is returned or destroyed, the
 3        Receiving Party must submit a written certification to the Producing Party (and, if
 4        not the same person or entity, to the Designating Party) by the 60 day deadline that
 5        (1) identifies (by category, where appropriate) all the Protected Material that was
 6        returned or destroyed and (2) affirms that the Receiving Party has not retained any
 7        copies, abstracts, compilations, summaries or any other format reproducing or
 8        capturing any of the Protected Material. Notwithstanding this provision, Counsel
 9        are entitled to retain an archival copy of all pleadings, motion papers, trial,
10        deposition, and hearing transcripts, legal memoranda, correspondence, deposition
11        and trial exhibits, expert reports, attorney work product, and consultant and expert
12        work product, even if such materials contain Protected Material. Any such
13        archival copies that contain or constitute Protected Material remain subject to this
14        Protective Order as set forth in Section V.
15        B.     Any violation of this Order may be punished by any and all appropriate
16        measures including, without limitation, contempt proceedings and/or monetary
17        sanctions.
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20 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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     Dated:                                  6 &+$5/(6 ) (,&.
23
                                                  CHARLES F. EICK
24                                                United States Magistrate Judge
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                                       PROTECTIVE ORDER
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 1                                          EXHIBIT A
 2              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3
 4         I,                                [print or type full name], of
 5                [print or type full address], declare under penalty of perjury that I have read
 6 in its entirety and understand the Protective Order that was issue by the United States
 7 District Court for the Central District of California on ______________ in the case of
 8                                    . I agree to comply with and to be bound by all the
 9 terms of this Protective Order and I understand and acknowledge that failure to so
10 comply could expose me to sanctions and punishment in the nature of contempt. I
11 solemnly promise that I will not disclose in any manner any information or item that is
12 subject to this Protective Order to any person or entity except in strict compliance with
13 the provisions of this Order.
14         I further agree to submit to the jurisdiction of the United States District Court for
15 the Central District of California for the purpose of enforcing the terms of this Protective
16 Order, even if such enforcement proceedings occur after termination of this action. I
17 hereby appoint                                   [print or type full name] of
18                       [print or type full address and telephone number] as my California
19 agent for service of process in connection with this action or any proceedings related to
20 enforcement of this Protective Order.
21 Date:
22 City and State where sworn and signed:
23 Printed Name:
24 Signature:
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28                                             15
                                        PROTECTIVE ORDER
